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 6
     Attorneys for Non-Party Lyft, Inc.
 7
 8                              UNITED STATES DISTRICT COURT

 9                            NORTHERN DISTRICT OF CALIFORNIA
10                                          OAKLAND DIVISION
11
12
     EPIC GAMES, INC.,                                Case No. 4:20-cv-05640-YGR-TSH
13
                                                      DECLARATION OF ELLEN LONDON
14          Plaintiff, Counter-Defendant,             IN SUPPORT OF NON-PARTY LYFT,
                                                      INC.’S ADMINISTRATIVE MOTION TO
15            v.                                      FILE UNDER SEAL PORTIONS OF
                                                      TRIAL EXHIBITS
16   APPLE, INC.,

17           Defendant, Counterclaimant.              The Hon. Yvonne Gonzalez Rogers

18                                                    Trial: May 3, 2021

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       DECLARATION OF ELLEN LONDON IN SUPPORT OF LYFT INC.’S MOTION TO SEAL PORTIONS OF
                                       TRIAL EXHIBITS
      Case 4:20-cv-05640-YGR Document 550-1 Filed 04/30/21 Page 2 of 2




 1   I, Ellen London, pursuant to Civil Local Rule 6-2, declare as follows:
 2      1. I am an attorney licensed to practice law in the State of California and a member of the

 3   bar of this Court. I represent Lyft, Inc. (“Lyft”) in this matter. I have personal knowledge of the
 4   following facts and could testify to them if called to do so.
 5      2. Pursuant to Local Rule 79-5, I submit this declaration in support of Lyft’s Administrative
 6   Motion to Seal Portions of Trial Exhibits.
 7      3. Lyft received documents PX-0201, PX-2061, and PX-2240, or Exhibits A, B, and C,
 8   from Apple, Inc. (“Apple”). Apple partially redacted these documents to ensure that Lyft did
 9   not receive confidential information about any other entities.
10      4. On April 29, 2021, I communicated with counsel for Epic Games, Inc. (“Epic”)
11   regarding Lyft’s motion to seal its confidential information from the exhibits and asked if Epic
12   opposed. Epic’s counsel stated that Epic takes no position regarding Lyft’s motion to seal its
13   information.
14      5. On April 29, 2021, I communicated with counsel for Apple regarding Lyft’s motion to
15   seal and asked if Apple opposed. Apple’s counsel stated that Apple did not oppose Lyft’s
16   motion.
17          Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true
18   and correct and that I executed this declaration on April 30, 2021 in Berkeley, California.
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20                                                         By: /s/ Ellen London
                                                              Ellen London
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       DECLARATION OF ELLEN LONDON IN SUPPORT OF LYFT INC.’S MOTION TO SEAL PORTIONS OF
                                       TRIAL EXHIBITS
